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 1   LAWRENCE G. BROWN
     Acting United States Attorney
 2   R. STEVEN LAPHAM
     Assistant United States Attorney
 3   PETER WILLIAMS
     Special Assistant U.S. Attorney
 4   501 I Street, Suite 10-100
     Sacramento, California 95814
 5   Telephone: (916) 554-2724
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 8
 9                       IN THE UNITED STATES DISTRICT COURT
10                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,
12                                           CR. NO. S-08-577 FCD

13                      Plaintiff,
                                             STIPULATION AND ORDER CONTINUING
14     v.                                    STATUS CONFERENCE

15   SALAM S. KALASHO,                       DATE:     August 3, 2009
     ANIL MALHI, and                         TIME:     10:00am
16   PISCES INTERNATIONAL, INC.,             COURT:    Courtroom 2

17                       Defendant.

18
19          IT IS HEREBY stipulated between the United States of America,
20   through its undersigned counsel, Assistant U.S. Attorney R. Steven
21   Lapham, and defendants Salam S. Kalasho and Pisces International,
22   Inc., through their undersigned counsel Gregory A. Vega, and
23   defendant Anil Malhi, through his undersigned counsel Donald M. Re,
24   that the status conference presently set for August 3, 2009, be
25   continued to September 14, 2009 at 10:00 a.m., thus vacating the
26   presently set status conference.
27          The parties stipulate and agree that the continuance is
28   necessary to permit defense counsel to review additional discovery

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 1   recently provided by the government.       Specifically, in addition to
 2   5,852 pages of discovery previously produced, the government has
 3   recently provided defense counsel an additional 138 pages and a tape
 4   recording.
 5        The parties further stipulate and agree that the requested
 6   continuance is necessary to permit defense counsel reasonable time
 7   necessary for effective preparation, taking into account the exercise
 8   of due diligence within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv)
 9   and that the ends of justice served by granting this continuance
10   therefore outweigh the best interests of the public and the
11   defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
12
13   Dated: July 31, 2009                  /s/ R. Steven Lapham
                                           R. STEVEN LAPHAM
14                                         Assistant U.S. Attorney
15
16   Dated: July 31, 2009                  /s/ Gregory A. Vega
                                           GREGORY A. VEGA
17                                         Attorney for Defendants Salam S.
                                           Kalasho and Pisces International
18
19
     Dated: July 31, 2009                  /s/ Donald M. Re
20                                         DONALD M. RE
                                           Attorney for Defendant Anil Malhi
21
22
                                   ORDER
23
     IT IS SO ORDERED.
24
25   Dated: July 31, 2009
26
                                         _______________________________________
27                                       FRANK C. DAMRELL, JR.
                                         UNITED STATES DISTRICT JUDGE
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